Case 19-01227-5-JNC    Doc 471 Filed 04/08/20 Entered 04/08/20 19:51:32     Page 1 of 4




                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

   IN RE:                                      )
                                               )        Case No. 19-00730
   CAH ACQUISITION COMPANY #1, LLC, d/b/a      )
   WASHINGTON COUNTY HOSPITAL,                 )        Chapter 11
                                               )
   Debtor.                                     )
                                               )
   IN RE:                                      )
                                               )        Case No. 19-01230
   CAH ACQUISITION COMPANY #2, LLC, d/b/a      )
   OSWEGO COMMUNITY HOSPITAL,                  )        Chapter 11
                                               )
   Debtor.                                     )
                                               )
   IN RE:                                      )
                                               )        Case No. 19-01180
   CAH ACQUISITION COMPANY #3, LLC, d/b/a      )
   HORTON COMMUNITY HOSPITAL,                  )        Chapter 11
                                               )
   Debtor.                                     )
                                               )
   IN RE:                                      )
                                               )        Case No. 19-01300
   CAH ACQUISITION COMPANY 6, LLC, d/b/a       )
   I-70 COMMUNITY HOSPITAL,                    )        Chapter 11
                                               )
   Debtor.                                     )
                                               )
   IN RE:                                      )
                                               )        Case No. 19-01298
   CAH ACQUISITION COMPANY 7, LLC, d/b/a       )
   PRAGUE COMMUNITY HOSPITAL,                  )        Chapter 11
                                               )
   Debtor.                                     )
                                               )
   IN RE:                                      )
                                               )        Case No. 19-01697
   CAH ACQUISITION COMPANY 12, LLC, d/b/a      )
   FAIRFAX COMMUNITY HOSPITAL,                 )        Chapter 11
                                               )
   Debtor                                      )
                                               )




                                         1
Case 19-01227-5-JNC        Doc 471 Filed 04/08/20 Entered 04/08/20 19:51:32                Page 2 of 4




   IN RE:                                      )
                                               )                      Case No. 19-01227
   CAH ACQUISITION COMPANY 16, LLC, d/b/a )
   HASKELL COUNTY COMMUNITY                    )                      Chapter 11
   HOSPITAL,                                   )
                                               )                      (Jointly Administered)
   Debtor.                                     )
   ___________________________________________ )

          TRUSTEE’S SIXTH STATUS REPORT ON SALES OF DEBTORS’ ASSETS

          NOW COMES Thomas W. Waldrep, Jr., the trustee (the “Trustee”) for the above-

  captioned debtors (individually, a “Debtor,” and collectively, the “Debtors”), by and through

  undersigned counsel, and hereby submits this Sixth Status Report on the sales of the Debtors’

  assets. In support thereof, the Trustee respectfully states as follows:

          1.     As of the filing of this Status Report, the sales of the assets of Debtors CAH

  Acquisition Company #2, LLC d/b/a Oswego Community Hospital; CAH Acquisition Company

  #3, LLC d/b/a Horton Community Hospital; and CAH Acquisition Company 12 d/b/a Fairfax

  Community Hospital have closed.

  CAH Acquisition Company #1, LLC

          2.     As reported in the prior Status Report, Affinity received and executed a

  Conditional Funding Commitment from Northwind Financial Corporation to fund its purchase of

  Washington Regional Medical Center. The Conditional Funding Commitment has been shared

  with Washington County, First Capital, and the Bankruptcy Administrator.

          3.     The required title commitment, appraisal, and new insurance binder have now

  been obtained. Affinity anticipates that the loan to purchase this Debtor’s facility will be finally

  approved by the lender on Thursday, April 9, 2020, with the closing to occur prior to April 14,

  2020.




                                                   2
Case 19-01227-5-JNC        Doc 471 Filed 04/08/20 Entered 04/08/20 19:51:32               Page 3 of 4




         4.      In case Affinity does not close in a timely manner, Sherwood Partners, at the

  direction of the Trustee, continues to re-market the property.

  CAH Acquisition Company 6, LLC

         5.      Like the sale of the assets of CAH Acquisition Company #1, LLC, Affinity has

  received and executed a lending commitment to fund the purchase of this Debtor’s assets.

         6.      The required title commitment and appraisal are in process. Affinity anticipates

  that this sale will close by the end of April 2020.

  CAH Acquisition Company 7, LLC

         7.      The Trustee has maintained contact with counsel for TULSA, which informed the

  Trustee that it is working with Cohesive to complete all documents and action items necessary to

  effectuate closing, including the finalization of the lease with the City of Prague. The Trustee is

  currently holding funds for the full purchase price of the assets in his law firm’s client trust

  account.

         8.      TULSA is working diligently to close the transaction by April 14, 2020, but if it

  is not able to do so, then TULSA will provide the Trustee with a specific timeline showing all

  steps completed and all steps left to be done to be shared with the Court.

  CAH Acquisition Company 16, LLC

         9.      The Trustee has maintained contact with counsel for Haskell Regional Hospital,

  Inc. who states that his client hopes and intends to close – though a closing by April 14, 2020

  appears unlikely at this point. The purchaser is particularly waiting on confirmation that federal

  funds will actually be forthcoming.




                                                   3
Case 19-01227-5-JNC      Doc 471 Filed 04/08/20 Entered 04/08/20 19:51:32          Page 4 of 4




        Respectfully submitted, this the 8th day of April, 2020.

                                       WALDREP LLP

                                       /s/ Thomas W. Waldrep, Jr.
                                       Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                       Jennifer B. Lyday (NC Bar No. 39871)
                                       Francisco T. Morales (NC Bar No. 43079)
                                       101 S. Stratford Road, Suite 210
                                       Winston-Salem, NC 27104
                                       Telephone: 336-717-1440
                                       Telefax: 336-717-1340
                                       Email: notice@waldrepllp.com

                                      - and –

                                       HENDREN, REDWINE & MALONE, PLLC

                                       Jason L. Hendren (NC State Bar No. 26869)
                                       Rebecca F. Redwine (NC Bar No. 37012)
                                       4600 Marriott Drive, Suite 150
                                       Raleigh, NC 27612
                                       Telephone: 919-420-7867
                                       Telefax: 919-420-0475
                                       Email: jhendren@hendrenmalone.com
                                             rredwine@hendrenmalone.com

                                       Co-Counsel for the Trustee




                                                4
